                     IN THE UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT


 UNITED STATES OF AMERICA,                 )
                                           )
            Appellant,                     )
                                           )
       v.                                  )       No. 24-4201
                                           )
 KEITH RODNEY MOORE,                       )
                                           )
            Defendant-Appellee.            )

       Government’s Motion to Schedule Oral Argument in Richmond

      The Court has tentatively calendared this appeal for oral argument during the

March 14, 2025, University of Maryland School of Law oral argument session.

The government respectfully moves this Court to schedule oral argument in

Richmond, Virginia. The government has consulted with defense counsel, who

opposes this request.

      The Supreme Court has long recognized that “there is a local interest in

having localized controversies decided at home.” Piper Aircraft Co. v. Reyno,

454 U.S. 235, 260 (1981) (internal quotation marks omitted). In this case, there is

an acutely local interest: The City of Richmond, Virginia, is at the heart of this

appeal. After Richmond Police Department (“RPD”) officers encountered three

different cars in Richmond’s Fourth Precinct with the same fake, temporary license

plate, officers tried to stop Keith Moore’s car, but he failed to stop, drove through
multiple stop signs, and fled on foot. JA58–59. Moore left his car running with

the door open and a gun in plain view on the floorboard. JA62, JA138–139,

JA190; see JA222. Based on these events, a federal grand jury sitting in Richmond

charged Moore with possession of a firearm by a convicted felon. JA16.

      The district court dismissed the indictment against Keith Moore with

prejudice on the ground that the entire RPD selectively enforces the traffic laws

against Black drivers. See JA1808–1815. That gravely erroneous conclusion rests

on Richmond-specific considerations, namely, RPD traffic stop data and the

history of racial discrimination in Richmond. Further, the district court’s decision

castigates RPD’s efforts to allocate scarce resources efficiently in order to prevent

violent crime in the City of Richmond. See, e.g., JA1814–1815; JA1842–1843.

Accordingly, the resolution of this appeal will directly affect not only all RPD

officers, but also all Richmond residents.

      The City of Richmond has a distinct interest in having this case heard at

home. Richmond residents should have an opportunity to observe this oral

argument. Cf. Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 606 (1982)

(observing that “public access to criminal trials permits the public to participate in

and serve as a check upon the judicial process—an essential component in our

structure of self-government”). Additionally, the government anticipates that




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leadership from RPD and the United States Attorney’s Office will attend this

argument.

      Appellee Keith Moore disagrees there is cause not to schedule argument at

the University of Maryland School of Law. Counsel for the Appellee is available

for argument at the date and location preferred by the Court.

      Given the singular significance of this appeal to the City of Richmond, the

government respectfully requests that the Court schedule oral argument in

Richmond. Counsel for the government will be available to present argument

during the March 18–21, 2025, regular oral argument session in Richmond.




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Respectfully submitted,




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